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                    UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                 Case No. 10-cr-00048-01/03-SM

Luis Alberto Reyes



                                      ORDER



      Defendant's assented to motion to continue the trial for 90 days (document no.

23) is granted. Trial has been rescheduled for the September 2010 trial period.

Defendant shall file a Waiver of Speedy Trial Rights not later than June 14, 2010. On

the filing of such waiver, the continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18 U.S.C.

§ 3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny

the defendants the reasonable time necessary for effective preparation taking into

account the exercise of due diligence under the circumstances.
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      Final Pretrial Conference                   September 10, 2010 at 3:00 PM

      Jury Selection:                             September 21, 2010 at 9:30 AM

      SO ORDERED.



June 4, 2010                          _________________________
                                      Steven J. McAuliffe
                                      Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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